      Case 1:15-cv-00215-MAB Document 258                                            Filed 03/21/19                Page 1 of 1




                                                                                                                        FORM SCP 4-1

UNITED STATES COURT OF INTERNATIONAL TRADE

UNITED STATES,
                                                                           BEFORE                    HON. MARKA. BARNETT
                                   Plaintiff,                               Court No.:              15-CV-00215

       v.
UNIVAR USA INC.,
                                   Defendant.



                          CERTIFICATION OF SETTLEMENT EFFORTS

       The undersigned lead counsel for the parties hereby certify that:
                                                                       M
       1.      They conferred by telephone [in person/ by telephone] on arch 13, 2019                                                      [date],
               to discuss in good faith the settlement of this case.
                 Stephen Tosini, Reta Bezak, Currita Waddy, attorneys for plaintiff; Craig Martin, Sara Horton-Tonnies, attorneys for defendant.
       2.
               [Names and position titles ofall persons participating]
               participated in the settlement conference.

       3.      Counsel conferred with their clients concerning settlement.

       4.     · At the conference, counsel discussed settlement alternatives, identified obstacles
                to settlement, and considered options for resolving them (including possible use
                of mediation).


       Submitted this 21 st                         day of March

Isl Stephen C. Tosini
Counsel for Plaintiff
 /s/ Craig C. Martin
Counsel for Defendant
